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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 SYNKLOUD TECHNOLOGIES, LLC
                                                Case No. 1:20-cv-10564-PBS
                               Plaintiff,
                                                DEFENDANT’S OPPOSITION TO
                v.                              PLAINTIFF’S MOTION FOR
                                                RECONSIDERATION
 NUANCE COMMUNICATIONS, INC.

                               Defendant.




                            DEFENDANT’S OPPOSITION TO
                     PLAINTIFF’S MOTION FOR RECONSIDERATION




   I.      INTRODUCTION

        The granting of a motion for reconsideration is “an extraordinary remedy which should

be used sparingly.” Palmer v. Champion Mortg., 465 F.3d 24, 30 (1st Cir. 2006) (quoting 11

Charles Alan Wright et al., Federal Practice and Procedure § 2810.1 (2d ed. 1995).). “[S]uch a

motion is normally not a promising vehicle for revisiting a party’s case and rearguing theories

previously advanced and rejected.” Id. Here, SynKloud’s Motion for Reconsideration is

nothing more than a “vehicle for revisiting a party’s case and rearguing theories previously

advanced and rejected,” and should be denied accordingly. See id.

        At claim construction, a year and a half ago, this Court rejected SynKloud’s argument

that a voice model can include enrollment entries. Claim Construction Order, Dkt. No. 46 at 8-9,



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11, 20. However, ignoring this Court’s Claim Construction Order, at summary judgment,

SynKloud’s position remained “that a voice model can include . . . enrollment entries.” Summary

Judgment Order, Dkt. No. 126, at 10. The Court rejected SynKloud’s attempt to revisit its failed

claim construction argument. Id.

          Despite this Court’s twice rejection of SynKloud’s theory, SynKloud asks this Court—for

the third time—to find that enrollment entries are part of a voice model. SynKloud’s untimely

request for reconsideration of a 16-month-old decision would be deeply prejudicial to Nuance

and is entirely frivolous on the merits.

    II.      SYNKLOUD’S ARGUMENT THAT THIS COURT’S FINDINGS WERE
             “GRATUITOUS” AND “IMPRECISE” DOES NOT CONSTITUTE THE
             “EXTRAORDINARY CIRCUMSTANCES” REQUIRED TO REVISIT AN
             ISSUE THAT HAS ALREADY BEEN RESOLVED—TWICE

          Motions for reconsideration of interlocutory orders are brought pursuant to Federal Rule

of Civil Procedure 54(b), while motions for reconsideration of final orders are brought pursuant

to Rule 59(e). Barrows v. Resol. Tr. Corp., 39 F.3d 1166 (1st Cir. 1994) (“Rule 59(e) . . . applies

only to final judgments.”)

          Because the challenged orders are interlocutory, and the Court has not directed entry of a

final judgment on any claims, Rule 54(b) governs SynKloud’s Motion for Reconsideration

(“Motion”), Dkt. No. 129.1 See Stile v. Somersedit Cnty., No. 1:13-CV-00248-JAW, 2019 WL

640093, at *2 (D. Me. Feb. 14, 2019), aff’d, No. 19-1220, 2020 WL 6878092 (1st Cir. Mar. 12,

2020).




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 SynKloud requests that its Motion be considered under Rule 59(e) “in the alternative.” See
Motion, Dkt. No. 129, at 3. But Rule 59(e) is limited to final judgments, and has a 28-day time
bar, and SynKloud did not file its motion for reconsideration for 16 months. See Fed.R.Civ.P
59(d).

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       Relying on Fifth Circuit law, SynKloud contends that, under Rule 54(b), “it need not

demonstrate the existence of extraordinary circumstances in its motion for reconsideration”.

Motion, at 2 (citing Cabral v. Brennan, 853 F.3d 763, 766 n.3 (5th Cir. 2017).) In this Circuit,

however, courts entertain a motion for reconsideration under Rule 54(b) only if there are

extraordinary circumstances, i.e., “(1) the movant presents newly discovered evidence, (2) shows

there has been an intervening change in the law or (3) demonstrates that the initial decision was

based on a manifest error of law or was clearly unjust.” United States v. Allen, 573 F.3d 42, 53

(1st Cir. 2009); United States v. Cintron, 724 F.3d 32, 36 n.5 (1st Cir. 2013); De Giovanni v.

Jani-King Int’l, Inc., 968 F. Supp. 2d 447, 450 (D. Mass. 2013); In re Nexium Esomeprazole

Antitrust Litig., 42 F. Supp. 3d 231, 284 (D. Mass. 2014); Shea v. Millett, Civil Action No. 17-

cv-12233-ADB, 2019 U.S. Dist. LEXIS 189632, at *1-2 (D. Mass. Oct. 31, 2019) (collecting

cases); Lebaron v. Mass. P'ship for Corr. Health, No. 17-10323-PBS, 2017 U.S. Dist. LEXIS

140801, at *5 (D. Mass. Aug. 31, 2017) (Saris, J.).

       Against the great weight of authority, SynKloud finds and cites two cases from this

Circuit, Pure Distribs. v. Baker, 285 F.3d 150, 156 (1st Cir. 2002) and Simone v. Monaco, 2020

U.S. Dist. LEXIS 37360 (D. Mass., March 4, 2020). But those cases do not stand for the

propositions cited by SynKloud. See Motion, Dkt. No. 129, at 1-2. As to Pure, nothing in that

case addresses the proper standard under Rule 54(b); it’s completely silent on the issue. As to

Simone, SynKloud represented that the court found that “the plaintiff need not demonstrate the

existence of extraordinary circumstances in a motion for reconsideration [under Rule 54(b)]”.

Motion, at 2 (emphasis added). But the Simone court actually stated that it “is not convinced

that Plaintiff needs to demonstrate the existence of extraordinary circumstances in his motion for

reconsideration” under Rule 54(b). Simone, 2020 U.S. Dist. LEXIS 37360, at *2 n.1. Contrary




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to SynKloud’s representations, the Simone court did not decide the issue of what standard applies

motions for reconsideration under Rule 54(b), going on to say, “But even assuming Plaintiff

must prove the existence of extraordinary circumstances, Plaintiff has met his burden here.”

Simone, 2020 U.S. Dist. LEXIS 37360, at *2 n.1.

       Motions for reconsideration may not be used by the losing party to repeat old arguments

previously considered and rejected. Palmer, 465 F.3d, at 30. SynKloud’s argument that the

Court should reconsider its earlier orders because its language is “imprecise” and “gratuitous”

(Dkt. 129 at 4), does not fall within the “limited circumstances” in which courts may entertain

motions for reconsideration of interlocutory orders—newly discovered evidence, intervening

change in the law, “manifest error of law,” or “clear injustice.” De Giovanni v. Jani-King Int'l,

Inc., 968 F. Supp. 2d 447, 450 (D. Mass. 2013). “Regardless of which rule [it is filed under], . . .

a motion for reconsideration . . . may not be used by the losing party ‘to repeat old arguments

previously considered and rejected, or to raise new legal theories that should have been raised

earlier.’” Bleau v. Bridgewell, Inc., No. CV 04-10469-REK, 2006 WL 8458093, at *4 (D. Mass.

Apr. 6, 2006) (denying motion for reconsideration that was “merely use[d] . . . to reargue

matters that have already been decided twice by this court”) (emphasis in original) (citation

omitted).

       Further, although SynKloud purports to only seek the striking of two sentences, the Court

makes the same finding present on those two sentences multiple times. For example, at page 9

of the Court’s Claim Construction Order it finds:

       Plaintiff’s proposed construction does not account for the patent’s significant distinction
       between a “user’s voice model files” and “enrollment entries.” ’248 Patent col. 19:16–18;
       id. col. 19:57–59; id. col. 21:11–13; id. col. 21:59–60; id. col. 22:35–38.




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Claim Construction Order, Dkt. No. 46 at 9; see also id., at 11 (“The Court accordingly construes

the term ‘enroll’ to mean ‘register’ and rejects SynKloud’s proposed alternative definition ‘create

a user’s voice model.’”)

          The Court’s decision to grant summary judgment could (and did) rely on this statement as

much as the two sentences SynKloud seeks to strike. See Summary Judgment Order, Dkt No.

126 at 6. As such, striking two sentences on page twenty (20) of the Markman Order does not

eliminate the Court’s multiple findings regarding the patent's teachings as to the distinction

between voice model files and enrollment entries.

          Finally, SynKloud itself asked for the following construction of voice model files: “files

in a user’s voice model”. Dkt Nos. 24-1, at 1; 29, at 11. SynKloud’s own position is that the

voice model files are the files in the user Voice Model; enrollment entries are not, by

SynKloud’s own definition, the files in the Voice Model. Materially, SynKloud does not ask

this Court to undo its construction of voice model files. As requested by SynKloud, the Court

construed voice model files to be “files in the Voice Model or voice model.” Claim Construction

Order, Dkt. No. 46 at 22. As such, by definition, enrollment entries are not files in the voice

model. Indeed, if both voice model files and enrollment entries are files in a voice model (Voice

Model), then the term voice model files is also fatally indefinite; no one knows the identity of

those files if they can also be enrollment entries. Regardless, this Court’s findings were not

“gratuitous” or “imprecise,” they were entirely consistent with the teachings of an imprecise

patent.

   III.      SYNKLOUD’S 16-MONTH DELAY IN REQUESTING RECONSIDERATION
             OF THE COURT’S CLAIM CONSTRUCTION ORDER IS UNREASONABLE
             AND HIGHLY PREJUDICIAL TO NUANCE, WHICH HAS HEAVILY
             RELIED ON THE ORDER TO BUILD ITS CASE FOR 16 MONTHS




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        “With interlocutory orders, whether a motion for reconsideration is timely filed rests

solely on whether or not the motion was filed unreasonably late[.]” Rafael Refojos & Assocs. v.

Ideal Auto. & Truck Accessories, Inc., No. 03-1797 (DRD), 2006 U.S. Dist. LEXIS 15699, at *3

(D.P.R. Mar. 15, 2006) (collecting cases). SynKloud waited 16 months to ask the Court to

reconsider its claim construction order—16 months during, as SynKloud itself states, “both

parties moved forward in the litigation using the claim constructions contained in the Court’s

Order.” Motion, at 6 (emphasis added). Nuance’s expert reports and its summary judgment

motions rely heavily upon the two sentences at-issue. See, e.g. Van Even Invalidity Report, Dkt.

No. 95-2, at ¶¶52-53, 75, 89, and 107; see also Nuance Summary Judgment Motion, Dkt. No. 87,

at 7:16-12:5; Dkt. No. 106, 1:1-6:3. SynKloud received the Court’s Claim Construction Order

with the two sentences at-issue and did nothing. SynKloud received Nuance’s expert reports

relying on the two sentences at-issue and did nothing. SynKloud received Nuance’s summary

judgment motion relying on the two sentences at-issue and did nothing. SynKloud waited until

the Parties and the Court labored through expert reports and summary judgment, and until

SynKloud lost on summary judgment, to raise an alleged concern within an Order issued a year

and a half ago. SynKloud cannot be allowed to drag a defendant and the Court through a year

and a half of litigation, including a summary judgment loss, before it raises concerns it allegedly

had with an order issued 16 months ago. See Skrabec v. Town of N. Attleboro, 321 F.R.D. 46, 49

(D. Mass. 2017) (denying motion for reconsideration because non-movant would be prejudiced,

inter alia).

        SynKloud says it did not seek reconsideration because this Court’s Claim Constructions

were correct. Motion, at 3 n.4. But then SynKloud says the two sentences at-issue are wrong.

Id. This makes no sense. If the sentences were wrong, in SynKloud’s opinion, SynKloud should




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have sought reconsideration last year. See Standard Quimica De Venez. v. Cent. Hispano Int'l,

Inc., 189 F.R.D. 202, 205 (D.P.R. 1999) (collecting cases rejecting Rule 54(b) motions for

reconsideration as untimely).

         SynKloud is asking this Court to make a radically different finding about what the

Asserted Patent says, a finding this Court expressly rejected during both claim construction and

again during summary judgment, i.e., that enrollment entries are in fact part of the Voice Model.

And, based solely on the striking of two sentences, SynKloud is asking this Court to reverse its

findings of non-infringement and invalidity in Nuance’s favor. It’s an unprecedented overreach

for which SynKloud cites no authority. Granting this request would be deeply prejudicial to

Nuance, who has relied on this Court’s multiple consistent findings for 16 months of litigation,

expert reports, and summary judgment.

   IV.      IN ADDITION TO BEING UNREASONABLY LATE, PREJUDICIAL TO
            NUANCE, AND IMPERMISSIBLY RELYING ON ARGUMENTS THAT
            WERE AVAILABLE TO SYNKLOUD THE FIRST TWO TIMES IT TRIED
            TO CONVINCE THE COURT OF ITS POSITION, SYNKLOUD’S MOTION
            SHOULD BE DENIED ON THE MERITS

         The only patent language SynKloud cites in support of its position that enrollment entries

are a part of the voice model is Claim 29, limitation (b): “store the user’s voice model files and

enrollment entries in recoverable form as the user’s Voice Model.” Motion, at 4. SynKloud

argues that this single limitation, as “the actual words of the claim,” ends the claim construction

inquiry. Id. at 4-5. But SynKloud ignores Claim 24, limitation (a)(ii)(A):—“store the user’s

enrollment entries in recoverable form as the user’s voice model files and enrollment entries”—

which implies that instead of enrollment entries being part of voice models, voice model files are

part of enrollment entries. And Claim 34, limitation (b):—“enroll the user on said destination




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computer, using the user’s stored enrollment entries and the first user’s user voice model files”—

which implies that voice model files are used to make enrollment entries.

       Thus, far from salvaging its case, limitation (b) to Claim 29 is simply further evidence

that the claim term enrollment entries is fatally indefinite, as the Court already found:

       Claim 29 has a similar issue. In light of the patent’s definition of a voice model, claim 29
       fails to inform those skilled in the art of the scope of the invention. The claim requires
       that the invention can “store the user’s voice model files and enrollment entries in
       recoverable form as the user’s Voice Model.” The presumption of validity on 35 U.S.C. §
       282(a) does not save claim 29, given that the files that are in the Voice Model are defined
       separately from the enrollment entries, and yet claim 29 would have the enrollment
       entries stored in the Voice Model. The term “enrollment entries” as used in this claim is
       invalid for indefiniteness.

Summary Judgment Order, Dkt. No. 126 at 13 (emphasis added).

       SynKloud writes that “the inclusion of enrollment entries in a user’s ‘Voice Model’ is the

precise metes and bounds of the invention.” Dkt. No. 129 at 4 (emphasis in original). But no

one, skilled in the art or not, can explain the metes and bounds of enrollment entries. When

asked how enrollment entries could be stored as “the voice model files and enrollment entries,”

the patent’s named inventor, Darrell Poirier, responded, “[T]he real answer is I don’t know. I just

don’t know about that.” Dkt. 87-12 at 139:18–140:4. SynKloud’s expert testified, “It’s possible

for enrollment entries to be voice model files, but they don’t have to be.” Nuance SJ Motion,

Dkt. No. 87 at 8:11-13 (quoting deposition of SynKloud’s expert). Nobody, certainly not

SynKloud, the patent’s inventor, or SynKloud’s expert, knows the precise metes and bounds of

the enrollment entries term.2




2
 Claim 34 and Claim 29 are both indefinite because they both have the enrollment entries term;
when a term is found indefinite in one claim, all claims with that term are indefinite. Aero
Prods. Int'l, Inc. v. Intex Recreation Corp., 466 F.3d 1000, 1015-16 (Fed.Cir. 2006); Bristol-
Myers Squibb Co. v. Apotex, Inc., No. 10-5810 (MLC), 2013 U.S. Dist. LEXIS 44481, at *18
(D.N.J. Mar. 28, 2013); Medtronic, Inc. v. W.L. Gore & Assocs., No. 06-04455 JSW, 2008 U.S.

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          Further, nothing in the patent talks about moving enrollment entries as part of Voice

Model Mobility. The term enrollment entries does not even appear in the patent outside of the

claims.

          The Court’s finding, that the enrollment entries term is indefinite, is undoubtably correct,

and striking the two sentences complained of will have no effect on that finding.

          As for non-infringement, the Asserted Patent talks about moving voice model files and

registration entries, and the Accused Product does not even have registration entries. Dkt. No. 87

at 12:9-16:4; 106, 8:22-13:1. The only argument for infringement SynKloud has made is one

that construes enrollment entries the only way the Court said it could not be construed: to be

synonymous with voice model files. That is, SynKloud alleges the Dragon Naturally Speaking

User Profile is the same thing as the “voice model” in the patent. Dkt. No. 87-6 at 102, 273; see

also Markman hearing transcript, Dkt. No. 87-11 at 36:15-16 (counsel for SynKloud states,

“Dragon refers to use profile that’s the same our expert talked as a user’s voice model”);

SynKloud’s Expert Deposition, Dkt. 87-13 at 33:10-11 (explaining “Creating a New User

Profile” in the Accused Products “describe[s] enrollment entries and what they are”). Yet the

DNS User Profile (allegedly, the patent’s “voice model”) is comprised of things like name,

accent, region, and vocabulary, which SynKloud also identifies as the “enrollment entries” in the

Accused Products. See SynKloud’s Infringement Contentions, Dkt. No. 87-6 at 117, 273; Dkt.

No. 99 at 12-14 (“Common ‘enrollment entries’ include the username, language, region, accent,

age, and vocabulary.”). To be clear, the only thing SynKloud points to in satisfaction of the

enrollment entries term, are files use to create a User Profile (Voice Model), which cannot be




Dist. LEXIS 102860, at *36 (N.D. Cal. Dec. 9, 2008). As will be presented to the jury, Claim
51 is equally indefinite.

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enrollment entries. SynKloud’s recycled non-infringement arguments are futile based on this

Court’s repeated findings. Even in its motion for reconsideration, the files SynKloud points to as

evidence of enrollment entries are voice model files, not enrollment entries. See Motion, Dkt.

No. 129 at 13. Again, files such as region, accent and vocabulary are the entries a user makes

when creating a User Profile (the accused Voice Model). SynKloud’s expert even admits this

repeatedly. See Nuance Reply ISO Summary Judgment, Dkt. No. 106, at 3. As such, if the

entries accused by SynKloud (region, accent, etc) are anything relevant, they are voice model

files, not enrollment entries. The Accused Product does not have enrollment entries.    See

Reply, Dkt. No. 106, at 1-5.

        Regardless, nothing in SynKloud’s Motion justifies reconsideration, much less a reversal

of this Court’s Summary Judgment Order based on the simple striking of two sentences from the

Court’s Claim Construction Order, issued a year and a half ago.

   V.      CONCLUSION

        Nuance respectfully asks that SynKloud's request to relitigate matters already repeatedly

argued and disposed of by this Court be denied.



                                                            Respectfully submitted,




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                                CERTIFICATE OF SERVICE



I hereby certify that on this 19th day of September, 2022, a true and accurate copy of the above

and foregoing:

DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR RECONSIDERATION


Was filed with the Court’s CM/ECF system, which provides service to all counsel of record.



                                                                    ________________________
                                                                          Rachael Lamkin




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